Case 4:17-cV-00017-.]HI\/|-HBB Document 1-3 Filed 02/16/17 Page 1 of 31 Page|D #: 10

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COMMONWEALTH OF KENTUCKY
HENDERSON CIRCUIT COURT

DIVISION
CIVIL ACTION NO. l7-CI-
ELECTRONICALLYFILED
Cynthia Gay Borurn, as
Administratrix of the Estate of
NICOLE ALYCE BORUM
2010 Book Drive
Henderson, KY 42420 PLAINTIFF
V. COMPLAINT FOR DAMAGES

 

JUNG WOOK KANG SMITH, MD
520 Mary Street

Suite 340

Evansville, IN 47710

SERVE: JUNG WOOK KANG SMITH

520 Mary Street
Suite 340
Evansville, IN 47710
DEACONESS CLINIC, INC.
600 Mary Street
Evansville, IN 47747
SERVE: CT CORPORATION SYSTEM
Registered Agent
306 W. Main Street, Suite 512
Frankfort, KY 40601
DEACONESS HOSPITAL, INC.
600 Mary Street
Evansville, IN 47747

SERVE: CT CORPGRATION SYSTEM
Registered Agent
306 W. Main Street, Suite 512
Frankfort, KY 40601

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HON. KAREN L. W|LSON (551294)

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DEACONESS HEALTH SYSTEM, INC.
600 Mary Street
Evansville, IN 47747
SERVE: C/O LINDA E. WHITE
Registered Agent
Deaconess Health System. Inc.
600 Mary Street

Evansville, IN 47747
DEFENDANTS

**********

Cornes the Plaintiff, Cynthia Gay Borum, as Administratrix of the Estate of Nicole Alyce
Borum, by and through the undersigned counsel, and hereby brings this Complaint for money
damages and other relief against Defendants lung Wook Kang Smith, MD, Deaconess Clinic,
Inc. (“Deaconess Clinic”), Deaconess Hospital, Inc. (“Deaconess Hospital”) and Deaconess
Health System, Inc. (collectively, “Deaconess”) (Deaconess and lung Wook Kang Srnith, MD
collectively referred to as “Defendants”) hereby alleges upon information and belief as follows:

THE PARTIES AND JURISDICTION

1. At all relevant times, the decedent Nicole Alyce Borum Was a resident of the
Commonwealth of Kentucky. From June 2015 through August 2015 Ms. Borum resided in
Henderson County, Kentucky. From August 2015 through September 9, 2015 , Ms. Borum
resided in Warren County, Kentucky, Where she Was attending Western Kentucky University.
On September 9, 2015, Ms. Borum committed suicide

2. Plaintiff Cynthia Gay Borum is the qualified and duly appointed Administratrix of
the Estate of Nicole Alyce Borum, having been appointed by the Probate Court of Henderson

County, Kentucky on January 14, 2016 (copy of her Qualification and Appointment attached

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Presiding Judge: HON. KAREN L. WELSON (651294)

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hereto and marked as Plaintiff’s Exhibit A). At all relevant times, Cynthia Gay Borum has
resided and currently does reside in Henderson County, KY.

3. Defendant lung Wook Kang Smith, MD Was and is a practicing physician
licensed under the laws of the Commonwealth of Kentucl<y and holds herself out to be a
specialist in Family Medicine. Her principal place of employment of 520 Mary Street, Suite 340,
Evansville, IN 47710.

4. Defendant Deaconess Clinic, Inc. Was and is an Indiana corporation providing
medical services in the Commonwealth of Kentucky, and at all relevant time has provided such
services in Henderson County, KY. lt is licensed to provide such services in the Commonwealth
of Kentucky and its registered agent for service of process of CT Corporation System, 306 W.
Main St., Suite 512, Frankfort, KY 40601.

5. Defendant Deaconess Hospital, Inc. Was and is an Indiana corporation providing
medical services in the Commonwealth of Kentucky. It is licensed to provide such services in
the Commonwealth of Kentucky and has a registered agent for service of process of CT
Corporation System, 306 W. Main St., Suite 512, Frankfort, KY 40601.

6. Upon information and belief, Defendant Deaconess Health System, Inc. was and
is an Indiana corporation providing medical services in the Commonwealth of Kentucky. lt has a
principal place of business identified as 600 Mary Street, Evansville, IN 47747 and a registered
agent for service of process of Linda E. White, 600 Mary Street, Evansville, IN 47747.

7. At all times mentioned herein, the Defendant Jung Wook Kang Smith, MD, Was
the actual, implied or apparent agent, servant and/or employee of the Deaconess Defendants.

Therefore, the negligence of the Defendant Jung Wook Kang Smith, MD is imputed to the

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F'res§dlng Juc£ge: HON. KAREN L. WlLSON (651294)

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Case 4:17-cV-00017-.]HI\/|-HBB Document 1-3 Filed 02/16/17 Page 4 of 31 Page|D #: 13

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Deaconess Defendants, and the Deaconess Defendants are otherwise liable for damages to
Plaintiff based on the conduct of Defendant Jung Wook Kang Smith, MD.

8. At all times, the Deaconess Defendants acted individually and through their
actual, implied or apparent agents, servants and employees, all of whom acted within the scope
of their employment in connection with the treatment of decedent Nicole Alyce Borum.
Therefore, the negligence of such individuals is imputed to the Deaconess Defendants, and the
Deaconess Defendants are otherwise liable for damages to Plaintiff based on the conduct of such
individuals

9. Defendant Deaconess Clinic is owned and/or controlled by Defendant Deaconess
Health System, Inc., and the Deaconess Health System, Inc. is otherwise liable for damages to
Plaintiff based on the conduct of the Deaconess Clinic’s actual, implied or apparent agents,
servants and/or employees.

10. Defendant Deaconess Hospital is owned and/or controlled by Defendant
Deaconess Health System, Inc., and the Deaconess Health System, Inc. is otherwise liable for
damages to Plaintiff based on the conduct of the Deaconess Hospital’s actual, implied or
apparent agents, servants and/or employees

l 1. The Plaintiff states that the damages being claimed herein are in excess of the
amount necessary to establish jurisdiction in this Court.

12. Venue is proper because the acts of negligence alleged herein were performed in
Henderson County, Kentucky during the course of the medical provider/patient relationship with
Nicole Alyce Borum or one or more of the Defendants has offices or operations that are located

in Henderson County, KY,

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Presiding Jucige: HON. KAREN L. WR_SON (651294}

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COUNT I: NEGLIGENCE AGAINST DEFENDANTS

13. Beginning in June 2015 and continuing through her death, Nicole Alyce Borum
was receiving medical treatment and other services from Defendant Jung Wook Kang Smith,
MD, and maintained a physician/patient relationship with Defendant Jung Wook Kang Smith,
MD.

14. Defendant Jung Wook Kang Smith, MD and the Deaconess Defendants had a
duty to exercise ordinary care in the provision of all medical services provided to the decedent
Nicole Alyce Borum.

15. ln providing medical care and services to the decedent Nicole Alyce Borum,
Defendant Jung Wook Kang Smith, MD and the Deaconess Defendants breached the applicable
standards of care for such treatment and services and exposed Nicole Alyce Borum to an
unreasonable risk of harm.

16. Deaconess Defendants, individually and through their employees, agents,
representatives, ostensible agents and/or partners breached their duties to Nicole Alyce Borum
by negligently hiring, training, supervising and/or retaining their agents, employees,
representatives and/ or ostensible agents, including but not limited to, Defendant Jung Wook
Kang Smith, MD.

17. The conduct of Defendant Jung Wook Kang Smith, MD and the Deaconess
Defendants was a substantial factor in causing the decedent Nicole Alyce Borum’s injuries and
damages

18. As a direct and proximate result of the negligence and carelessness as described

above, Nicole Alyce Borum sustained serious and permanent injuries, resulting in pain,

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Presiding Judge: HON. KAREN L. WiLSON (651294)

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Case 4:17-cV-00017-.]HI\/|-HBB Document 1-3 Filed 02/16/17 Page 6 of 31 Page|D #: 15

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suffering, mental anguish, the impairment of the power to labor and earn money, and other
damages leading up to her death on September 9, 2015.
COUNT II: WRONGFUL DEATH AGAINST DEFENDANTS

19. Plaintiff repeats and realleges the allegations above and incorporates them fully
herein.

20. The Defendant Jung Wook Kang Smith, MD entered into a patient physician
relationship with Nicole Alyce Borum. Defendant Jung Wook Kang Smith, MD deviated from
the accepted standard of care in the performance of her medical responsibilities to the decedent
Nicole Alyce Borum and such deviations constitute medical negligence.

21. The implied, apparent and ostensible agents, servants and/or employees of the
Deaconess Defendants, including but not limited to Defendant Jung Wook Kang Smith, both
jointly and severally, rendered care and treatment in their professional capacity to decedent
Nicole Alyce Borum and were at all times within the line and scope of their agency and/or
employment Such care deviated from the standard of care and constituted medical negligence

22. As a direct and proximate result of the negligence and carelessness of the
Defendants, as described above, the Estate of Nicole Alyce Borum, was caused to sustain
damages for funeral and burial expenses, medical expenses, pain, suffering, mental anguish, the
destruction of the decedent’s power to labor and earn money, along with such damages to be
determined at trial.

PUNITIVE DAMAGES AGAINST ALL DEFENDANTS

23. Upon information and belief, the conduct of Defendants, as described above, was

extreme and outrageous, was grossly negligent, and constitutes fraud, malice and oppression for

which Plaintiff is entitled to recover punitive damages

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Presiding Judge: HON. KAREN L. WILSON (651294)

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ix t ."?`~_"
24. Upon information and belief, Defendants engaged in oppressive, fraudulent or

malicious conduct through their agents, servants and employees which acts were approved,
ratified or acquiesced in by these corporate defendants

25. Such conduct by Defendants was the direct and proximate cause of Plaintiff s
injuries and damages, including serious and permanent injuries, pain and suffering, medical bills
and expenses, funeral and burial costs, the destruction of the decedent’s power to labor and earn
money, compensatory damages and all such other damages as may be proved at trial.

26. These actions rise to a level that permits the imposition of punitive damages both
under KRS 41 1 .184 and Kentucky jurisprudence

WHEREFORE, Plaintiff Cynthia Gay Borum, as Administratrix of the Estate of Nicole
Alyce Borum, prays for judgment against the Defendants Jung Wook Kang Smith, MD,
Deaconess Clinic, Deaconess Hospital, and Deaconess Health System, Inc. as follows:

a. For compensatory damages which will fairly and reasonably compensate Plaintiff in
an amount in excess of the jurisdictional limits of this Court;

b. For punitive damages to punish the conduct of the Defendants and to deter them and
others from engaging in similar conduct;

c. F or her costs herein expended;

d. For the right to amend the Complaint to add other claims and parties as the proof
allows;

e. For pre- and post-judgment interest at the rate of 12% per annum from the date of the
injury until paid; and

f. For any and all other relief to which they may appear to be entitled

DATED this 12th day of Ianuary, 2017.

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Presiding Judge: HON. KAREN L. WILSON {651294)

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Respectfully submitted,

/s/ Anthony P. Ellis

Anthony P. Ellis

ELLIS LAW GROUP, PLLC
239 S. Fifth Street, Suite 1900
Louisville, KY 40202

(502) 777-1440 (cell)

(859) 878-2049 (fax)
aellis@ellislawky.com
Co-Counselfor Plainli]j”

/s/ Samuel J. Bach
Samuel J. Bach

Bach & Armstrong LLC
312 First Street

P.O. Box 881
Henderson, KY 42419
(270) 844-8200 (phone)
(270) 826-5807 (fax)
Co-Counselfor Plainlijj"

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/s/ William D. Nefzger

William D. Nefzger

BAHE COOK CANTLEY & NEFZGER PLC
Marion E. Taylor Building, 6th Floor

312 South Fourth Street

Louisville, Kentucky 40202
will@bccnlaw.com

(502) 5 87-2002 - Telephone

(502) 5 87-2006 ~ Facsimile

Co-Counselfor Plaintijj”

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Presidin§ Judge: HON. KAREN L. WELSON (65¥294)

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COMMONWEALTH OF KENTUCKY
HENDERSON DISTRICT COURT

PROBA'I`E DIVIS§§§”~
Case No. 16-P- "
IN RE: THE ESTATE OF NICOLE ALYCE BORUM
ORDER

This matter having come before the Court upon Petition to Appoint an Administratrix
of the Estate of Nicole Alyce Borum, the Court having reviewed the file, and being sufficiently
advised,

IT IS HEREBY ORDERED that Cynthia Gay Borum, 2010 Book Drive,
Henderson, Kenmeky 42420 be appointed Administratrix of the estate and the court fixes bond in the
sum of $ éd ago “’? dollars P""+¢' °’Vyé/ '

WHEREUPON the said Administratrix has taken the oath prescribed by faw and
entered into and acknowledged the abovementioned bond, with surety having been waived

ENTERED this /§/ day of THva ,2015

 
 
      

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BACH & AR'MSTRONG, LLP
312 First Street

P.O. Box 881

Henderson, Kentucky 42419-0831
(270) 844-8200

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Presiding Judge: HON. KAREN L. WEE_SON (65?294)

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Case 4:17-cV-00017-.]Hl\/l-HBB Document 1-3 Filed 02/16/17 Page 10 of 31 PagelD #: 19

 

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Commonwealth of Kentucky
Court of Justice Courts.ky.gov

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Plantiff, BORUM, CYNTH|A G. VS. WOOK KANG SM|TH, JUNG, ET AL, Defendam‘

TO: L|NDA E. WHlTE
600 MARY STREET
EVANSV|LLE, IN 47747

The Commonwealth of Kentucky to Defendant:
DEACONESS HEALTH SYSTEM, |NC.

You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you With this Summons. UnleSS a Written defense is made by you Ol‘ by an attorney

.On your behalf Within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you With this Summons.

/s/ Herbert McKee, Jr. Henderson Circuit Clerk
Date: 01/12/2017

 

Proof of Service
'i This Summons was:
|:| Served by delivering a true copy and the Complaint (or other initiating document)

To:

 

|:l Not Served because:

 

 

Date: , 20
Served By

 

Tit|e

Pi'esiding Judge: HON* KAREN L. WlLSON (651294]

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Summons lD: @00000113042,
C|RCU|T: 17-C!-00018 Long _Arm Statute - SOS - Restricted De|ivery

BoRuivi, cYNTHiA o. vs. WooK KANG sMiTH, JuNG, ET Ai_ F ' l d
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Commonwealth of Kentucky
Court of Justice Courts.ky.gov

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P/antiff, BORUM, CYNTH|A G. VS. WOOK KANG SM|TH, JUNG, ET ALl Defendanf

TO: CT CORPORAT|ON SYSTEM
306 WEST MA|N STREET
SU|TE 512
FRANKFORT, KY 40601

The Commonwealth of Kentuc|<y to Defendant:
DEACONESS HOSP|TAL, INC.

You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
`the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney

on your behalf Within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons.

/s/ Herbert McKee, Jr. Henderson Circuit C|erk
Date: 01/12/2017

 

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|:l Served by delivering a true copy and the Complaint (or other initiating document)

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Summons lD: @00000113041,
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Presiding Judge: HON. KAREN L. WELSON (551294)

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P/arifl'ff, BORUM, CYNTH|A G. VS. WOOK KANG SM|TH, JUNG, ET AL, Defendanf

TO: CT CORPORAT|ON SYSTEM
306 WEST MA|N STREET
SU|TE 512
FRANKFORT, KY 40601

The Commonwealth of Kentucky to Defendant:
DEACONESS CL|N|C, |NC.

You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a ertten defense is made by you or by an attorney

on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons.

/s/ Herbert McKee, Jr. Henderson Circuit Clerk
Date: 01/12/2017

 

Proof of Service
This Summons was:
|:| Served by delivering a true copy and the Complaint (or other initiating document)

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Presiding Judge: HON. KAREN L. Wii_SON (651294}

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Summons lD: @00000113040,
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Case 4:17-cv-00017-.]Hl\/|-HBB Document 1-3 Filed 02/16/17 Page 13 of 31 PagelD #: 22

 

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County: HENDERSON

   

AOC-E-105 Sum Code: Cl
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Commonwealth of Kentucky
Court of Justice Courts.ky.gov

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P/anfiff, BORUM, CYNTH|A G. VS. WOOK KANG SM|TH, JUNG, ET AL, Defendam‘

TO: JUNG WOOK KANG SM|TH
520 MARY STREET
SU|TE 340
EVANSV|LLE, lN 47710

The Commonwealth of Kentucky to Defendant:

You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Un|ess a written defense is made by you or by an attorney

on your behalf Within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this Summons.

/s/ Herbert McKee, Jr. Henderson Circuit Clerk
Date: 01/12/2017

 

Proof of Service
This Summons was:
|:| Served by delivering a true copy and the Complaint (or other initiating document)

To:

 

j:| Not Served because:

 

 

Date: , 20
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Summons lD; @00000113039,
ClRCU|T: 17-Cl-00018 Long Arm Statute - SOS - Restricted De|ivery

BoRuM, chTHiA c. vs. wooi< KANG sMiTH, JuNo, ET AL F ' l d
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Presiding Judge; HON. KAREN L. WiLSON (651294)

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COMMONWEALTH OF KENTUCKY
HENDERSON ClRCUlT COURT
CIVIL ACTION NO. 17-CI-00018

CYNTI-HA GAY BORUM, as Adrninistratrix
of the Estate of NICOLE ALYCE BORUM PLAINTIFF

vs ANSWER OF DEFENDANTS

JUNG WOOK KANG SMITH, M.D.;

DEACONESS CLINIC, INC.,'

DEACONESS.HOSPITAL, INC.,' and

DEACONESS HEALTH SYSTEM, INC. DEFENDANTS

 

Come the defendants by counsel, and for their Answer to plaintiffs

Complaint, state as folloWs:

1. These defendants admit the allegations contained in paragraphs 4 and 19

of the Complaint

2. These defendants deny each and every allegation contained in paragraphs

15, 16, 17, 18, 21, 22, 23, 24, 25, and 26 of the Complaint

3. These defendants are Without sufficient knowledge so as to form a belief
in the truth or falsity of the allegations contained in paragraphs 1, 2, 8, 11, and 12 of the

Complaint and therefore deny same.

4 'W'ith regard to the allegations contained in paragraph 3 of the Complaint
these defendants admit that Dr. Smith Was and is a practicing physician licensed under the
laws of the Commonwealth of Kentucky, practicing in family medicine, but deny each and

every remaining allegation contained therein

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HERBERT MCKEE. JR.

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5. With regard to the allegations contained in paragraph 5 of the Complaint,
these defendants admit that Deaconess Hospital, Inc. was and is an Indiana corporation
providing some laboratory services in the Commonwealth of Kentucky, is licensed to
provide such services in the Commonwealth of Kentucky, and has a registered agent for
service of process at C.T. Corporation System, but deny each and every remaining
allegation contained therein.

6. With regard to the allegations contained in paragraph 6 of the Complaint,
these defendants admit that Deaconess Health System, Inc. was and is an Indiana
corporation With its principal place Of business at 600 Mary Street, Evansville, Indiana
47747 and registered agent for service of process of Linda E. White, 600 Mary Street,
Evansville, Indiana 47747, but deny each and every remaining allegation contained therein

7. With regard to the allegations contained in paragraph 7 of the Complaint,
these defendants admit that Dr. Smith Was an employee of Deaconess Clinic, lnc., but deny
each and every remaining allegation contained therein.

8. With regard to the allegations contained in paragraphs 9 and 10 of the
Complaint, these defendants admit that Deaconess Clinic, Inc. and Deaconess Hospital, Inc.
are owned by Deaconess Health Systems, Inc., but are without sufficient knowledge so as
to form a belief in the truth or falsity of the'remaining allegations contained therein and
therefore deny same.

9. With regard to the allegations contained in paragraph 13 of thc Complaint,

these defendants admit that beginning in june 2015, plaintiff Was receiving medical

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treatment from Dr. Smith and maintained a physician / patient relationship With Dr. Smith,
but deny each and every remaining allegation contained therein.

10. With regard to the allegations contained in paragraph 14 of the
Complaint, these defendants admit that they had a duty to exercise that degree of care and
skill expected of a reasonable family medicine physician, health clinic, hospital, and health
system, respectively, but deny each and every remaining allegation contained therein.

11. With regard to the allegations contained in paragraph 20 of the
Complaint, these defendants admit that Dr. Smith entered into a patient/ physician
relationship With Nicole Borum, but deny each and every remaining allegation contained

therein
WHEREFORE, defendants, by counsel, respectfully demand as follows-:
1. That the Complaint against them be.di'smissed, with prejudice,'
2. For their costs herein expended, including a reasonable attorney’ s fee; and

3. F or any and all other relief to Which they may appear entitled

PHILLIPS PARKER ORBERSON & ARNETT PLC

JoHN w. PHILLIP`§"
KATHERINE T. WATTS
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Suite 300

Louisviile, Kentucky 40202
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kwatts@ppoalaw.com
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dchurchman@ppoalaw.com
Counselfor Dej%ndan ts

Case 4:17-cV-00017-.]HI\/|-HBB Document 1-3 Filed 02/16/17 Page 17 of 31 Page|D #: 26

CERTIFICATE OF SERVICE

lt is hereby certified that a true and accurate copy of the foregoing was
forwarded via U.S. Mail, postage pre-paid, this 31 clay of February, 2017 to:

Anthony P. Ellis, Esq.
ELLIS LAW GROUP, PLLC
239 South Fifth Street

Suite 1900

Louisville, Kentucky 40202

aellis@ellislawky.com
Co-Counsel jbr Plaintiij

William D. Nefzger, Esq.

BAHE COOK CANTLEY & NEFZGER, PLC
Marion E. Taylor_Building, 6th Floor

317 South Fourth Street

Louisville, Kentucky 40202
will@bccnlaw.com

-Co-Counsel for Plaintz']j’

Samuel ]. Bach, Esq.

Bach & Armstrong LLC

312 First Street

P.O. Box 881

Henderson, Kentucky 42419

Co-Counsel for Plaintij i/\'/>/
J/

Kathefihe T. Watts

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COMMONWEALTH OF KENTUCKY
HENDERSON C[RCUIT COURT
CIVIL ACTION NO. l7-CI-00018

ELECTRON]CALLY FILED
CYNTHlA GAY BORUM, as
Administratrix of the Estate of
NICOLE ALYCE BORUM PLAINTIFF
v. PLAINTIFF’S CR 5.02(2) NOTICE OF ELECTRONIC SERVICE

 

JUNG WOOK KANG SMITH, MD;

DEACONESS CLINIC, TNC.;

DEACONESS HOSPITAL, INC.;

DEACONESS HEALTH SYSTEM, INC. DEFENDANTS

**********
Please take notice that pursuant to CR 5.02(2), undersigned counsel for the Plaintiff
Cynthia Gay Borum, as Administratix of the Estate of Nicole Alyce Borum, elects to effectuate
and receive service via electronic means. This shall apply to all filings in the above captioned
civil action. The electronic notification addresses at Which the undersigned attorneys agree to

accept service are listed beloW. Please include all email addressed listed to assure receipt of

service.
Anthony P. Ellis, Esq. aellis@theellisiawgroup.com
Lindsey Goetz lgoetz@theellislawgroup.com
Laura Curth lcurth@theellislawgroup.com
Will Nefzger Will@bccnlaw.com
Neil Kearns neil@bccnlaw.corn
Samuel J. Bach sam@bacharmstrong.com
liari D. Tigue kari@bacharmstrong.com

All other attorneys or parties in this case are requested to provide the undersigned With
the electronic addresses at which they may be served through electronic mail Whenever service

of a document is required by the Civil Rules.

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Respectfully submitted,

 

 

/s/ Anthony P. Ellis /s/ William D. Nefzger

Anthony P. Ellis William D. Nefzger

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aellis@theellislawgroup.com Will@bccnlaw.corn

Co-Cozmselfor Plainti]j’ (502) 587-2002 - Telephone

(502) 587-2006 - Facsimile
CO-Counselfor Plainti]j”

/s/ Samuel J. Bach
Samuel J. Bach

Bach & Armstrong LLC
312 First Street

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(270) 844-8200 (phone)
(270) 826-5807 (fax)
CO-Counselfor Plaintl']j‘

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CERTIFICATE OF SERVICE

l hereby certify that a copy of the foregoing Was electronically filed With the Court and
sent via electronic mail on February 9, 2017 to the following:

Phillips Parker Orberson & Arnett, PLC

jphillips@ppoalaw.com
kwatts@ppoalaw.com
cpotts@ppoalaw.com
dchurchman@ppoalaw.com

Counsel for Defendants

/S/ Anthony P. Ellis
Anthony P. Ellis

Counsel for Plaintiff

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NO : 000803 of 030003

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OMMONWEALTH OF KENTUCKY
HENDERSON ClRCUIT COURT
CIVIL ACTION NO. l7-CI-00018

ELECTRONICALLY FILED
CYNTHIA GAY BORUM, as
Administratrix of the Estate of
NICOLE ALYCE BORUM PLAINTIFF
v. PLAINTIFF’S NOTICE TO TAKE VIDEOTAPED DEPOSITION OF

 

DEFENDANT JUNG WOOK KANG SMITH, MD

JUNG WOOK KANG SMITH, MD;

DEACONESS CLINIC, INC.;

DEACONESS HOSPITAL, lNC.;

DEACONESS HEALTH SYSTEM, INC. DEFENDANTS
Please take notice that pursuant to CR 30 and CR 34 the Plaintiff, Cynthia Gay Borum, as

Administratix of the Estate of Nicole Alyce Borum, by counsel, will take the video recorded oral

deposition ofJung Wook Kang Smith, commencing on the date and at the time and place Set forth

below, or at a mutually agreed upon time and place as determined by the parties’ respective

counsel:

TO: All Counsel of Record
DEPONEN'I`: Jung Wook Kang Smith, M])
DATE: April 6, 2017
TIME: 9 a.m. local time
LOCATION: Bach & Armstrong LLC

312 First Street

P.O. Box 881

Henderson, KY 42419

The deposition will be taken pursuant to the Kentucky Rules of Civil Procedure and for all
uses permissible thereunder. lt will be taken before a Notary Public or some other officer

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authorized to administer oaths and will be video recorded and preserved pursuant to the provisions
of CR 30.02 (4). A copy of CR 30.02, regarding videotaped depositions, is attached. lt will

continue from day to day until completed, Sundays and holidays excluded.

 

 

Respectfully submitted,

/s/ Anthony P. Ellis /s/ William D. Nefzger

Anthony P. Ellis William D. Nefzger

ELLIS LAW GROUP, PLLC BAHE COOK CANTLEY & NEFZGER PLC
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Co-Counsel for Plaintiff (502) 587-2006 - Facsimile

Co-Counselfor Plaim‘l']jF

/s/ Samuel J. Bach
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Co-Counselfor Plaintl`jj"

Page 2 of 3

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CERTIFICATE OF SERVICE

l hereby certify that a copy of the foregoing was sent via electronic mail on February 9,
2017 to the following:

Phillips Parker Orberson & Arnett, PLC

jphillips@ppoalaw.com
kwatts@ppoalaw.com
cpotts@ppoalaw.com
dchurchman@ppoalaw.com

Counsel for Defendants

/s/ Anthony P. Ellis
Anthony P. Ellis

Counsel for Plaintiff

Page 3 of 3

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COMMONWEALTH OF KENTUCKY
HENDERSON ClRCUlT COURT
ClVlL ACTION NO. l7-Cl-00018

ELECTRONICALLY F]LED

CYNTHIA GAY BORUM, as
Administratrix of the Estate of
NICOLE ALYCE BORUM PLAlNTlFF

v. PLAINTIFF’S CR 30.02(6) NOTICE TO TAKE
VIDEO RECORDED DEPOSITION OF CORPORATE
REPRESENTATIVE OF THE HOSPTIAL DEFENDANTS

JUNG WooK KANG sMITH, MD;
DEACONESS CLINIC, INC.;

DEACONESS HosPITAL, INC.;

DEACONESS HEALTH sYSTEM, lNC. DEFENDANTS

**********

PLEASE TAKE NOTICE that pursuant to CR 28.02, CR 30.02(4), CR 30.02(5), CR
30.02(6) and CR 34, the Plaintiff Cynthia Gay Borum, as Administratrix of the Estate of Nicole
Alyce Borum, deceased, by counsel, will take the video recorded oral deposition of a
representative of Defendants Deaconess Clinic, Inc. (“Deaconess Clinic”), Deaconess Hospital,
Inc. (“Deaconess Hospital”), and Deaconess Health System, Inc. (“Deaconess System”)
(collectively, the “Hospital Defendants”) through the person or person(s) most knowledgeable
and authorized to testify on their individual or collective behalf, regarding the Subjeet matter
Specified below, commencing on the date and at the time and place set forth below, or at a

mutually agreed upon time and place as determined by the parties’ respective counsel

TO: Counsel of Record
DEPONENT: Corporate Representative(s) of Hospital Defendants
DATE: April 5, 2017

TIME: 9:00 a.m. local time

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LOCATION: Bach & Armstrong LLC
312 First Street
P.O. Box 881
Henderson, KY 42419
The party deponents to whom this notice is addressed shall individually or collectively
designate one or more officers, directors, managing agents or other persons to testify on their
behalf and shall identify for each such person so designated which of the matters set forth below
that the person will testify to. To the extent that the Hospital Defendants collectively or
individually choose to designate more than one person to respond to this request, Plaintiff requests
that such Defendant shall designate each witness and identify in writing which topics listed below
he or she will testify upon at least 10 business days prior to the deposition date.
The deposition will be taken pursuant to the Kentucky Rules of Civil Procedure and for all
uses permissible thereunder. lt will be taken before a Notary Public or some other officer
authorized to administer oaths and will be video recorded and preserved pursuant to the provisions

of CR 30.02 (4). A copy of CR 30.02, regarding videotaped depositions, is attached. lt will

continue from day to day until completed, Sundays and holidays excluded.

DEFINITIONS
A. “Patient” shall refer to Nicole Alyce Borum.
B. “Deaconess Clinic” shall refer to Defendant Deaconess Clinic, lnc., and each of

its agents, servants, employees, executives, directors, subsidiaries, parents, affiliates,
predecessors, successors, and all entities and/or individuals under its control or in which it has an
interest.

C. “Deaconess Hospita|” shall refer to Defendant Deaconess Hospital, lnc., and each

of its agents, servants, employees, executives, directors, subsidiaries, parents, affiliates,

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predecessors, successors, and all entities and/or individuals under its control or in which it has an
interest.

D. “Deaconess System” shall refer to Defendant Deaconess Health System, lnc., and
each of its agents, servants, employees, executives, directors, subsidiaries, parents, affiliates,
predecessors, successors, and all entities and/or individuals under its control or in which it has an
interest

E. “Smith” refers to Defendant lung Wook Kang Smith, MD, her agents,
representatives, entities in which she owns an interest, and attorneys and each person acting or

purporting to act on her behalf

F. “Action” means the above-captioned action currently pending in Henderson
Circuit Court.
G. “Documents” as referenced herein shall include, without limitation, all written,

typed or otherwise preserved materials or communications including any letter, correspondence,
email, note, book, pamphlet, article, bulletin, directive, review, publication, memorandum, diary,
log, test analysis, study, projection, check, invoice, receipt, bill, purchase order, shipping order,
contract, agreement, work paper, calendar, envelope, paper, telephone message, tape, computer
tape, computer disc, computer card, recording, videotape, film, microfilm., microfiche, drawing,
account, ledger, statement, financial data, and all other writings and communications of any kind.
lt is intended to include all non-identical copies, and drafts and all documents in Defendants
actual or constructive possession, custody or control, whether prepared, published or released by

any Defendant or by any other person or entity.

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SUBJECT MATTERS
Plaintiff requests the person or person(s) most knowledgeable from each Hospital
Defendant on the following topics:
l. The care and treatment of Patient. This would include

a. The complete plan of care and services that were created and provided to
Patient for treatment of her mental health, including any suicide
assessments, suicide treatment plans, mental health guidelines or diagnostic
tools that were used, and all provides and resources that were considered
and ultimately were utilized for the treatment of Patient;

b. the ability of Patient’s providers who Were affiliated with the Hospital
Defendants to access Patient’s complete medical records contained within
the Hospital Defendants’ records;

c. the identity of the individuals with knowledge of such care and treatment,
their roles in providing care and treatment, and their relationship and
affiliation with the Hospital Defendants both presently and at the time they
provided care and treatment to Patient;

d. the interpretation of Patient’s hard copy and electronic medical records and
protected health information maintained by the Hospital Defendants
concerning Patient’s care and treatment;

e. the accuracy of Patient’s medical records and protected health information
maintained by the Hospital Defendants and whether any information
contained in Patient’s medical records is false, misleading, incomplete or
missing;

f. the names of each party who made each handwritten notation on the written
medical records and the contents of each such communication, and what
such notation was intended to convey;

g. the medical imaging studies or tests performed and the results of such tests;

h. the interpretation of any medical bills or billing statements concerning
Patient’s treatment at any facility owned, operated by or affiliated with the
Hospital Defendants;

i. communications made to Patient or Patient’s family by any medical
provider at any facility owned, operated by or affiliated with any of the
Hospital Defendants, including any documents provided to Patient or her
family concerning her treatment; and

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j. the location, nature and custodian of documents and records that would have
been created concerning the care and treatment of Patient at any facility
owned, operated or affiliated with the Hospital Defendants This would
include both hard copy and electronic medical records that would have been
created or expected to be created and maintained concerning Patient’s
treatment

2. The complete electronic medical record for Patient, including information
sufficient to show (1) all audit trails and edits made to the record, (2) the date and
time such edits were made, (3) the healthcare provider responsible for making each
edit, (4) the information that was available and viewable by each individual
healthcare provider involved in the care of Patient, (5) all popup warnings
incorporated into the electronic medical record that could have or should have been
viewed and considered by Patient’s healthcare providers involved in her care while
she was receiving treatment, (6) any alterations or other modifications made to the
electronic medical record, such as any auto-fill instructions, automatically
generated information that is auto-populated into the medical record, or other pre-
existing information incorporated into the medical record that was not changed or
altered by one of Patient’s healthcare providers, (7) the metadata incorporated into
Patient’s electronic medical record, (8) the accuracy of the information contained
in Patient’s medical records, and (9) all forms or pre-existing text that were
incorporated or used in connection with documenting Patient’s care and treatment

3. The technology, software programs or other electronic databases used to collect and
maintain protected health information concerning Patient relating to her treatment
at any facility owned, operated by or affiliated with the Hospital Defendants

4. All agreements, contracts, or other such business and/or financial relationships
between or among the Hospital Defendants and any individuals who were involved
in the care and treatment of Patient, including Dr. Smith and the nursing staff and
other administrative staff involved in the care and treatment of Patient. This would
further include any agreements between the Hospital Defendants and any
professional service business entities through which such individuals provided
medical treatment to Patient.

5. The insurance that may potentially be available to satisfy all or part of any judgment
entered against you in this action or liable to indemnify you for any payments made
by the Hospital Defendants to satisfy such judgment

6. The corporate and organizational structure of any business entities involved in the
care and treatment of Patient, including the identity and ownership information for
each such entity, the relationship of such entity to the care provided to Patient, and
the role of such entities in the care provided to Patient.

7. Dr. Smith’s quality, credentialing, and employment file, and any investigation or

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credentialing process performed by the Hospital Defendants concerning Dr. Smith.
This would include issues concerning Dr. Smith’s privileges at any hospitals,
efforts to obtain privileges, denials of such privileges, and lack of privileges while
treating patients This would also include any complaints or concerns raised
concerning Dr. Smith by any person.

8. The peer review process and structure used to review the care and treatment of
patients of Dr. Smith by the Hospital Defendants or any of its agents or assigns,
including all peer reviews or other reviews, disciplinary reviews or evaluations,
investigations, reports, grievances, inter-office communications, anecdotal notes,
verbal communications, or other reviews of any kind.

9. All peer reviews or other reviews, disciplinary reviews or evaluations,
investigations, reports, grievances, inter-office communications, anecdotal notes,
verbal communications, or other reviews of any kind concerning Patient’s care and
treatment

10. The number of patients scheduled and treated by Dr. Smith each day she provided
care and treatment to Patient, and the amount of time she spent with Patient on each
visit with Patient

l 1. The number of patients Dr. Smith was treating during the period May 2015 through
Present, and the staff and services provided to her to aid in her treatment of such

patients
12. Dr. Smith’s experience treating patients who had a history of prior suicide attempts
13. The Hospital Defendants’ policies, codes of conduct, procedures, and educational

initiatives applicable to Dr. Smith and employees of the Hospital Defendants at the
time they provided treatment to Patient, including any policies or procedures
applicable to the care and treatment of patients with mental health disorders and/or
that express suicidal thoughts or ideation.

14. The identity of all periodicals, journals, treatises, textbooks or other sources
available to Dr. Smith which she could have used and accessed in connection with
her treatment of Patient

REO{IEST FOR PR~ODUCTION OF DGCUMENTS
To the extent that documents concerning the topics cited above were previously requested

in Plaintiff’s written discovery requests, You are under a continuing duty to produce them

promptly. lf documents concerning the above-referenced topics were not previously requested,

Case 4:17-cv-00017-.]H|\/|-HBB Document 1-3 Filed 02/16/17 Page 30 of 31 Page|D #: 39

please produce them at least ten days prior to the above-designated deposition date, or such other
date as is agreed to by the parties.
REOUEST FOR INSPECTION OF MEDICAL RECORD DURING DEPOSITION
Hospital Defendants shall make available for inspection, on the date identified in the above
notice and during the deposition of witnesses he complete electronic medical record system and
the electronic medical record for Patient utilized by her treating healthcare professionals in the
matter and format in which such professionals accessed the system and obtained the information

contained therein.

 

 

Respectfully submitted,

/s/ Anthony P. Ellis /s/ William D. Nefzger

Anthony P. Ellis William D. Nef`zger

ELLlS LAW GROUP, PLLC BAHE COOK CANTLEY & NEFZGER PLC
239 S. Fifth Street, Suite 1900 Marion E. Taylor Building, 6th Floor
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aellis@ellislawky.com (502) 5 87-2002 ~ Telephone

Co-Counsel for Plaintiff (502) 587-2006 - Facsimile

Co-Counselfor Plainti]j”

/s/ Samuel J. Bach
Samuel J. Bach

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(270) 826-5807 (fax)
Co-Counselfor Plaintiff

Case 4:17-cv-00017-.]H|\/|-HBB Document 1-3 Filed 02/16/17 Page 31 of 31 Page|D #: 40

CERTIFICATE ()F SERVICE

l hereby certify that a copy of the foregoing was sent via electronic mail on February 9,
2017 to the following:

Phillips Parker Orberson & Amett, PLC

jphillips@ppoalaw.com
kwatts@ppoalaw.com
cpotts@ppoalaw.com
dchurchman@ppoalaw.com

Counsel for Defendants

/s/ Anthony P. Ellis
Anthony P. Ellis
Counsel for Plaintiff

